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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 JACKSON DIVISION

TERRI PETERSON                                        )
                                                      )
         Plaintiff,                                   )
                                                      )      NO:
v.                                                    )
                                                      )      JURY DEMAND
WEST TN EXPEDITING, INC.                              )
                                                      )
         Defendant.                                   )



                                          COMPLAINT


         For her Complaint against Defendant West TN Expediting, Inc. (“West TN Expediting”

or “Defendant”), Plaintiff Terri Peterson (“Ms. Peterson” or “Plaintiff”) states as follows:

                                             I. Parties

      1. Plaintiff Terri Peterson is a citizen and resident of Haywood County, Tennessee. She is a

         former employee of Defendant.

      2. Defendant West TN Expediting, Inc. is a trucking company based in Lauderdale County,

         Tennessee located at 182 Volz Avenue Ripley, TN 38063. West TN Expediting may be

         served through its registered agent, Jeff Buckner, at 182 Volz Avenue Ripley, TN 38063.

                                        II. Jurisdiction and Venue

      3. This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1367. Venue is proper under 28

         U.S.C. § 1391.

      4. This is an action for damages for unlawful termination of Ms. Terri Peterson in violation

         of Title VII of the Civil Rights Act of 1964, 42 U.S. Code § 2000e, and the Tennessee

         Human Rights Act, Tenn. Code. Ann. § 4-21-101, et seq. (“THRA”).
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 5. Plaintiff’s claims have been administratively exhausted under Title VII of the Civil

    Rights Act of 1964. Plaintiff has received her Notice of Right to Sue.

                                            III. Facts

 6. Ms. Peterson was hired to be a truck driver for Defendant.

 7. Ms. Peterson was qualified for her job with Defendant.

 8. Ms. Peterson received positive performance feedback during her employment with

    Defendant.

 9. Ms. Peterson worked under the direction, supervision, and influence of James Corbin.

 10. Mr. Corbin was put in charge of Ms. Peterson’s on-the-job training related to her

    acquisition of a Commercial Driver’s License (“CDL”).

 11. Ms. Peterson was required to drive and perform other work within the same truck as Mr.

    Corbin for thousands of miles each workweek.

 12. Between April 2017 and June 2017, Ms. Peterson was subjected to multiple incidents of

    unwelcomed sexual harassment, sexual advances, sexual comments, sexual assaults,

    requests for sexual favors, and other conduct of a sexual nature by Mr. Corbin. The

    treatment targeted at Ms. Peterson was based on her gender (female).

 13. Around April 2017, Ms. Peterson was sexually assaulted by Mr. Corbin while she was

    sleeping in the truck’s “sleeper” section. Sexual assault, rape, attempted rape, and sexual

    harassment are in violation of the civil and/or criminal code of Tennessee.

 14. During the April 2017 sexual assault, Plaintiff was awakened from her sleep by Mr.

    Corbin aggressively his hand up her shirt. Mr. Corbin touched Plaintiff’s breast during

    the incident. Plaintiff responded by yelling, screaming, and telling him to never touch her

    in that way ever again.
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 15. Mr. Corbin told Plaintiff that he would have her fired if she ever spoke out about his

    actions against her.

 16. Ms. Peterson still reported the April 2017 sexual assault to Defendant’s management and

    human resources agents, including, Terry [last name unknown].

 17. Defendant did not investigate Ms. Peterson’s report.

 18. Defendant did not take any preventative or corrective action against Mr. Corbin in

    response to Plaintiff’s report of sexual assault and harassment around April 2017.

 19. Defendant continued to employ Mr. Corbin Ms. Peterson made the report of sexual

    harassment/assault around April 2017.

 20. After the April 2017 sexual assault, Defendant kept Ms. Peterson working under the

    direction, supervision, and training of Mr. Corbin.

 21. Ms. Peterson continued to be targeted with an increased rate of sexual comments,

    advances, and harassment after making the report of sexual harassment/assault by Mr.

    Corbin. Ms. Peterson repeatedly told Mr. Corbin and Defendant that she opposed being

    subjected to Mr. Corbin’s lewd conduct.

 22. Ms. Peterson continued to be targeted with unwelcomed touching, grabbing, intimidation,

    and ridicule by Mr. Corbin between April and June 2017.

 23. On or about June 1, 2017, Ms. Peterson was again sexually assaulted by Mr. Corbin

    while she was sleeping in the truck’s sleeper section.

 24. Ms. Peterson was again awakened from her sleep as a result of Mr. Corbin placing his

    hands on her. This time Mr. Corbin had his hand placed between her legs, and was

    moving it up towards her vagina when she woke up. Ms. Peterson also had her breast
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    grabbed during this incident. She responded by screaming, yelling, and telling Mr. Corbin

    to remove his hands from her.

 25. Plaintiff was told that she “would regret it” if she reported Mr. Corbin’s actions to

    Defendant.

 26. Despite Mr. Corbin’s threat, Plaintiff reported the sexual assault to: (1) her boyfriend,

    Billy Burse; and (2) Defendant’s management and human resources agents, including

    Terry and Mr. Buckner.

 27. No preventative or corrective action was taken by Defendant against Mr. Corbin in

    response to Plaintiff’s complaint.

 28. Defendant kept Mr. Corbin in charge of Plaintiff’s driver training, supervision, and

    direction in work duties.

 29. After the June 1 [or so] sexual assault, Ms. Peterson subsequently confronted Mr. Corbin

    about his actions against her. The interaction between Plaintiff and Mr. Corbin was video

    recorded.

 30. The video reflects that Mr. Corbin was confronted about grabbing Plaintiff’s breast and

    butt, as well as putting his hand up her shirt. Plaintiff also confronted Mr. Corbin about

    making insulting and threatening comments to her at work. On the video, Mr. Corbin

    acknowledges engaging the behavior Plaintiff accuses him of in this Compliant.

 31. The video recording shows Mr. Corbin becoming irate about Plaintiff for confronting him

    about his actions against her. Mr. Corbin called Plaintiff names and screamed at her in

    frustration. He also made a punching gesture at Plaintiff that she was fortunate enough to

    dodge. Additionally, Mr. Corbin is recorded making a threatening and dangerous swerve

    of the truck in an attempt to get Ms. Peterson to “shut up.”
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 32. Ms. Peterson reported Mr. Corbin’s actions to Defendant. Plaintiff told Defendant that

    she recorded the interaction with Mr. Corbin, and Defendant’s agents refused to watch

    the entire video.

 33. Again, Defendant took no preventative, corrective, or disciplinary action against Mr.

    Corbin.

 34. Ms. Peterson was dismissively told by Defendant’s agents: “We’ve all got our demons.

    You just have to let it go and move on.”

 35. Defendant subsequently cut off all communications with Plaintiff and/or engaged in

    hostile, antagonistic, or dismissive interactions with her. Defendant refused to give

    Plaintiff job assignments.

 36. Ms. Peterson’s employment was ended shortly after the report of the June 1, 2017 sexual

    assault and harassment.

 37. Defendant continues to employ Mr. Corbin. He was never reprimanded or disciplined for

    the conduct detailed in the above paragraphs.

 38. Defendant knew or should have known of the sexual harassment of Ms. Peterson and

    failed or refused to take appropriate responsive or corrective action.

 39. Defendant West TN Expediting had no anti-harassment policies or procedures in place

    during Ms. Peterson’s employment, and/or Defendant ignored any appropriate written

    policies regarding sexual harassment, retaliation, discrimination, and investigation of the

    same during Plaintiff’s employment.

 40. The asserted reason(s) for Defendant’s adverse actions against Ms. Peterson are false and

    a pretext for discrimination, harassment, and retaliation.
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 41. The sexual harassment of Ms. Peterson was severe and pervasive and became

    progressively worse, despite her repeated instructions that it stop, and altered the terms

    and conditions of her employment.

 42. Defendant West TN Expediting treated Ms. Peterson differently in the terms, conditions,

    and privileges of employment than it treated other similarly situated employees who were

    not female and who had not opposed sexual harassment and sexual assaults.

 43. As a result of Defendant’s discriminatory, retaliatory, and unlawful conduct, Ms.

    Peterson has lost income, continued employment, and other privileges of employment.

 44. As a result of Defendant’s conduct, Ms. Peterson has suffered embarrassment,

    humiliation, stress, anxiety, fear, mental and relationship strain, nightmares, and dignitary

    harm, and has incurred attorneys’ fees and related expenses.

                                              IV. Claims



                      TENNESSEE HUMAN RIGHTS ACT VIOLATIONS

                               Discrimination and Sexual Harassment

 45. Plaintiff adopts and re-alleges all preceding Paragraphs as if fully set forth in full herein.

 46. Based upon the conduct described in this Compliant, Defendant is liable for unlawful

    gender discrimination and sexual harassment in violation of the THRA.

 47. Defendant’s conduct has harmed and caused damage to Ms. Peterson.

                                              Retaliation

 48. Plaintiff incorporates by reference all of the preceding paragraphs of the Complaint.

 49. Based on the conduct described in this Complaint, Defendant West TN Expediting is

    liable for violations of the THRA’s prohibition against retaliation.
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 50. Defendant’s retaliatory conduct described in this Complaint was substantially motivated

    by Ms. Peterson’s gender and her opposing unlawful conduct.

 51. Defendant’s retaliatory treatment of Ms. Peterson was intentional and demonstrates

    reckless indifference to her legally protected rights.

 52. Defendant’s conduct has harmed and caused damage to Ms. Peterson.


                                        TITLE VII CLAIMS

                              Discrimination and Sexual Harassment

 53. Plaintiff incorporates by reference all of the preceding paragraphs of the Complaint.

 54. Based on the conduct described in this Complaint, Defendant is liable for unlawful

    gender discrimination and sexual harassment in violation of the Title VII.

 55. Defendant’s conduct has harmed and caused damage to Ms. Peterson.

                                            Retaliation

 56. Plaintiff incorporates by reference all of the preceding paragraphs of the Complaint.

 57. Based on the conduct described in this Complaint, Defendant West TN Expediting is

    liable for violations of Title VII’s prohibition against retaliation.

 58. Defendant’s retaliatory conduct described in this Complaint was substantially motivated

    by Ms. Peterson’s gender and her opposing unlawful conduct.

 59. Defendant’s retaliatory treatment of Ms. Peterson was intentional and demonstrates

    reckless indifference to her legally protected rights.

 60. Defendant’s conduct has harmed and caused damage to Ms. Peterson.

                                  RELIEF REQUESTED

    Ms. Peterson respectfully requests:
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       1.      That process issue and be served upon Defendants, and that they be directed to

answer this Complaint within the time period prescribed by law;

       2.      That this case be set for trial and that a jury be empaneled to hear and decide the

merits and damages;

       3.      That Ms. Peterson be awarded judgment and compensatory damages, including

but not limited to back pay, front pay, and damages for embarrassment, humiliation, mental

anguish and stress, and outrage;

       4.      That Ms. Peterson be awarded punitive damages in an amount to be determined at

trial, but in excess of $3,500,000.00;

       5.      That Ms. Peterson be awarded attorneys’ fees and expenses;

       6.      That Ms. Peterson be awarded pre-judgment interest;

       7.      That all costs be taxed against Defendants; and

       8.      That Ms. Peterson be awarded such other and further legal or equitable relief to

which she may be entitled.

                                             Respectfully Submitted,



                                             __________________________________

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